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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF OKLAHOMA

SHELLI M. HOPKINS, an individual,

                   Plaintiff,

v.                                                   Case No. CIV-16-166-SPS

BACONE COLLEGE, an Oklahoma
not-for-profit institution,

THE BOARD OF TRUSTEES OF
BACONE COLLEGE,

FRANK WILLIS, an individual,

                   Defendants.

                                  NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant, Bacone College, Inc.

(“Defendant”), hereby removes this action from the District Court of Muskogee County,

State of Oklahoma, to the United States District Court for the Eastern District of

Oklahoma. In support of this Notice of Removal, Defendant states as follows:

         1.        Defendant is the named Defendant in a civil action initially filed on

February 16, 2016, in the District Court of Muskogee County, State of Oklahoma, styled

Shelli M. Hopkins v. Bacone College, The Board of Trustees of Bacone College and

Frank Willis, CJ-16-61. See, Petition, attached hereto as Exhibit “1”.

         2.        Removal of this action from the District Court of Muskogee County,

Oklahoma to federal court is proper under 28 U.S.C. §§ 1331 and 1441(a) because the

federal court would have original jurisdiction of this action based on federal question



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jurisdiction (28 U.S.C. § 1331), had this action been brought originally in the federal

court.

          3.       Original jurisdiction is proper in this case pursuant to 28 U.C.S. §1331

because, in the Petition, Plaintiff has asserted causes of action brought pursuant to Title

VII of the Civil Rights Act of 1964, as amended (42 U.S.C. § 2000e et seq.), the Age

Discrimination in Employment Act of 1967 (29 U.S.C. §621 et seq.), and the Equal Pay

Act of 1963 (29 U.S.C. §206). Plaintiff’s claims for violation of federal statutory rights

are the types of claims which arise under the Constitution, laws, or treaties of the United

States.

          4.       Additionally, pursuant to 28 U.S.C. § 1367, this Court has supplemental

jurisdiction over Plaintiff's asserted state law tort claims for false light and intentional

infliction of emotional distress.

          5.       Service of the Petition was made on Defendant on April 15, 2016. Pursuant

to 28 U.S.C. § 1446, this Notice of Removal is timely filed as it is within 30 days after

Defendant was served with process.

          6.       Pursuant to 28 U.S.C. §1446(d), Defendant will promptly provide written

notice of removal of the action to all other parties to this lawsuit and will promptly file a

copy of this Notice of Removal with the Clerk of the Muskogee County District Court.

          7.       Pursuant to 28 U.S.C. 1446, and in compliance with LCvR 81.2, copies of

all process, pleadings, orders, and documents filed or served in the state action are

attached hereto. See, Petition, attached hereto as Exhibit “1”; Summons to Bacone

College, Inc., attached hereto as Exhibit “2”; Summons to The Board of Trustees of


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Bacone College, attached hereto as Exhibit “3”; Summons to Frank Willis, attached

hereto as Exhibit “4”; Affidavit of Service on Frank Willis, attached hereto as Exhibit

“5”; Returned Summons from Bacone College, attached hereto as Exhibit “6”; and

Returned Summons from The Board of Trustees of Bacone College, attached hereto as

Exhibit “7”

         8.        Also in compliance with LCvR 81.2, a copy of the docket sheet is attached

as Exhibit “8”.

         9.        There are currently no motions pending in this action.

         10.       Defendant has conferred with all other defendants in this action and has

been advised that there are no objections to Defendant removing this action on behalf of

all defendants to the United States District Court for the Eastern District of Oklahoma.

         WHEREFORE, Defendant, Bacone College, Inc., respectfully requests that the

United States District Court for the Eastern District of Oklahoma accept this Notice of

Removal, assume jurisdiction of the cause, and issue such further orders and processes as

may be necessary.




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                                                  Respectfully submitted,

                                                  HALL, ESTILL, HARDWICK,
                                                  GABLE, GOLDEN & NELSON, P.C.

                                               s/Elaine R. Turner
                                          By: Elaine R. Turner, OBA #13082
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                                              ATTORNEYS FOR DEFENDANT,
                                              BACONE COLLEGE


                              CERTIFICATE OF SERVICE

         I hereby certify that on this 4th day of May, 2016, I electronically transmitted the

attached document to the Clerk of Court using the ECF System for filing and transmittal

of Notice of Electronic Filing to the Following ECF registrants:


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                                                          s/ Elaine R. Turner


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